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                                   STATEMENT OF FACTS

        Your affiant,                , is a Special Agent assigned to the FBI Charlotte Division
Joint Terrorism Task Force (JTTF). In my duties as a special agent, I conduct both international
and domestic terrorism investigations. Currently, I am tasked with investigating criminal activity
in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law
or by a Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

        The facts in this Affidavit come from my personal observations, my training and
experience, and information obtained from other agents, witnesses, and agencies or is based on a
review of various documents, records, and reports. Because this Affidavit is submitted for the
limited purpose of establishing probable cause, it does not contain every fact known by me or the
FBI. The dates and times listed in this Affidavit should be read as “on or about.”

                  Background: Events at the U.S. Capitol on January 6, 2021

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.




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       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                              Facts Specific to BRETT ROTELLA

        Based upon review of public video, closed circuit television (“CCTV”) footage and police
body worn camera (“BWC”) footage depicting the events at the U.S. Capitol building and grounds
on January 6, 2021, law enforcement identified an individual who confronted police officers, led
other rioters in advancing toward retreating police, grabbed police riot shields and repeatedly
pushed against police in an effort to gain entrance to the U.S. Capitol. The FBI subsequently posted
a photograph of the individual at the U.S. Capitol under the name 82-AFO and requested help from
the public to identify the individual. As set out in detail below, law enforcement has identified 82-
AFO as BRETT ROTELLA (“ROTELLA”), also known as Brett Alan Ostrander, and there is
probable cause to believe that on January 6, 2021, ROTELLA committed violations of 18 U.S.C.
§§ 111(a)(1) (assaulting, resisting, or interfering with a law enforcement officer); 231(a)(3) (civil
disorder), and 1752(a)(1) and (2) (unlawful entry and disorderly conduct on restricted buildings or
grounds) and 40 U.S.C. § 5104(e)(2)(E) (impeding passage through the Capitol grounds or
buildings).

       A. 82-AFO’s Activities at the U.S. Capitol on January 6, 2021

       According to BWC footage, 82-AFO was located on the West Plaza of the U.S. Capitol
building on January 6, 2021 at approximately 2:24 p.m. Below is a still image from BWC depicting
82-AFO (circled in red) on the West Plaza:




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        As depicted above, 82-AFO was wearing a red skull cap, a black sleeveless puffy vest over
a red sleeveless shirt, white or gray long shorts with a black stripe and black tennis shoes. 82-AFO
also held a long pole with at least two flags affixed to it at various points during the day.

        Approximately 2 minutes later, 82-AFO approached a metal police barricade, grabbed the
barricade and pushed it in the direction a Metropolitan Police Department (“MPD”) officer, Officer
D.T., and yelled “fuckin’ tear gas us, I didn’t do shit!” 82-AFO also yelled, “we just want things
to be right” and “something has to happen or we’re all fucked!” Below is a still image from Officer
D.T.’s BWC depicting 82-AFO immediately after he pushed the barricade toward Officer D.T.:




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        At approximately 2:33 p.m., the police line on the West Plaza fell and numerous police
officers retreated away from the area. As the police near him retreated, 82-AFO led numerous
other rioters in quickly following the police up the southwest stairs from the West Plaza. As 82-
AFO led the group up the stairs, he periodically paused calling out “HOLD!” or holding up his fist
to indicate to the group behind him to stop. Below is another still image from BWC showing 82-
AFO directing other rioters to stay in place while the police retreat:




         Below is another still image from BWC depicting 82-AFO holding his right arm up in a
fist to indicate to the rioters behind him to stop while the police retreat:




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        After reaching the top of the stairs, 82-AFO led the rioters in turning left at the top of the
stairs and around the corner where he again confronted police officers attempting to stop the crowd
from breaching the building. Below is a still image of 82-AFO from BWC still at the front of a
large crowd of rioters, again holding up his right hand in a fist to indicate to his followers that they
should hold their place:




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       As the officers dispersed from the area, 82-AFO led the crowd of rioters toward the
Inaugural Stage.. Below is a still image from BWC depicting 82-AFO leading a crowd of rioters
toward the U.S. Capitol building:




        At approximately 2:40 p.m., 82-AFO followed the police into a long hallway leading into
the U.S. Capitol building on the Lower West Terrace referred to as “the tunnel.” As 82-AFO
followed the police, a police officer fired rubber bullets at the ground near his feet in an attempt to
stop his advance. 82-AFO then turned around and began to walk backward toward the police as
the rubber bullets were fired at the ground near his feet. Below is a still image from CCTV
depicting the police firing rubber bullets at 82-AFO as he continues to advance by walking
backward into the tunnel:




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        The police then retreated into the tunnel. They shut and locked the first of two sets of
double doors to the entrance of the U.S. Capitol building. 82-AFO stood outside those doors and
stared in at the police line. Below is a still image from BWC depicting 82-AFO staring in at the
police. He also appears to still be holding the flag pole in his left hand:




        Moments later, the rioters smashed one of the panes of glass in the doors and opened the
set of doors. They then approached the police line, which was established behind the second set of

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doors. As depicted in the still image from BWC below, 82-AFO reached around and opened the
door on the left and then was the second rioter to enter the tunnel:




        Another rioter came through the doors and quickly began to physically fight the police.
Soon, other rioters, including 82-AFO joined. For example, below is a still image from CCTV
depicting 82-AFO (circled in red and recognizable by his orange/red skull cap, sleeveless shirt and
black vest), with his right arm outstretched and pushing against the police shields:




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       At approximately 2:43 p.m., 82-AFO turned his back on the police line and pushed against
the police officers while using his hand to help leverage his weight and push against the door
frame. Below is a still image from BWC depicting 82-AFO pushing against the door frame to help
him push harder against the police. The officers asked 82-AFO to let go of the door but he said, “I
don’t want her to get hurt.” It appeared that at this time, 82-AFO may have been creating space for
a smaller female near him:




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        Below is a still image from another video obtained during the investigation (“Video 1”)
depicting 82-AFO pushing against the police from the angle of the mob.




         Video 1 also indicates 82-AFO may have been at least partially protecting a small female
near him for part of the time he was at the police line. However, the female moves away from the
front line approximately two minutes into the video but 82-AFO remained at the police line. Video
1 shows that as he pushed, 82-AFO also briefly grabbed the edge of a police riot shield before
releasing it and raising his hand in the air. Near the end of Video 1, 82-AFO stated, “Just go back
please.”




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       After several minutes at the front of the police line, 82-AFO appeared to be sprayed with
OC spray. Clamping his eyes shut, he felt his way out of the tunnel. Another public video (“Video
2”) depicts 82-AFO as he left the front of the police line:




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       According to CCTV footage, 82-AFO left the tunnel at approximately 2:55 p.m.




        Approximately one hour later, 82-AFO was still located at the area near the tunnel. By this
time, the police had successfully expelled the rioters from inside the tunnel but the mob was
continuing to fight against the police from outside. 82-AFO was a member of a large crowd that
was pushing in concerted fashion and calling out “heave ho” from outside the tunnel against the
police line. Below is a still image of 82-AFO from a video obtained during the investigation
(“Video 3”) depicting 82-AFO pushing along with the rest of the mob against the police at
approximately 3:50 p.m. 1




1
 Video 3 does not have time stamps. The estimated time is based on a comparison between Video
3 and other videos that do include timestamps, like CCTV and BWC.
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        Approximately four minutes later, while still pushing with other members of the mob, 82-
AFO extended his left hand in the air, extended his left index finger, then his middle finger, then
his ring finger as if to count “1, 2, 3” and then pushed hard against the rioters in front of him.
Below is a still image from Video 3 depicting 82-AFO counting the crowd down to direct a group
push against the police




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       Another public video (“Video 4”) shows 82-AFO (in the yellow square) counting the crowd
down from an angle directly behind him:




        82-AFO then made his way through the dense crowd closer to the police line. Once he was
at the police line, another rioter handed 82-AFO a pink tube-like object, possibly pepper spray. It
appears that 82-AFO attempted to activate the pepper spray – perhaps as a test – but it did not
spray. 82-AFO later dropped the item when a ladder was passed overhead. Below is a still image
from another public video (“Video 5”) depicting 82-AFO with the pink item in his right hand:




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        Moments later, 82-AFO no longer had the pink item in his hand when he was passed a
large orange ladder. 82-AFO grabbed the ladder and pushed it overhead toward the police line and
into the mouth of the tunnel. Below is a still image from Video 5 depicting 82-AFO (circled in
red) grabbing the ladder and handing it behind him:




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       Below is a still image from CCTV depicting 82-AFO’s arm (circled in red) as the ladder
was being pushed in the tunnel at the police:




       82-AFO pushed the entire length of the ladder back and into the tunnel. Below is a still
image of 82-AFO (circled in red) from another video obtained during the investigation (“Video
6”) grabbing the end of the ladder and continuing to push it into the tunnel at the police:




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         After the ladder was pushed back out of the tunnel by the police, 82-AFO continued to
push against other rioters near him in an effort to collectively push against and breach the police
line in the tunnel. Below is a still image from Video 5 depicting 82-AFO (circled in red) pushing
with his back to the tunnel as the ladder is being pushed back out into the crowd by the police:




       B. Identification of 82-AFO as BRETT ROTELLA

      FBI posted a photograph of 82-AFO to its website and asked members of the public for
help in identifying him. Below is the photograph posted by the FBI of 82-AFO:




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        Following posting of the BOLO, law enforcement became aware that 82-AFO may be
BRETT ROTELLA. 2 Based on a search of law enforcement and open-source databases, FBI
identified a potential residence for ROTELLA in Kannapolis, North Carolina (“the Rotella
Residence”). On or about July 27, 2023, FBI performed surveillance at the Rotella Residence. At
approximately 4:15 p.m. that afternoon, a white male matching the description 82-AFO exited the
residence with a woman and two minor children. The man, woman and children then got into a
vehicle and left the Rotella Residence. FBI maintained physical surveillance of the vehicle and the
occupants after it departed the Rotella Residence, including when the vehicle stopped at a nearby
Aldi store and the occupants went inside. Below is a photograph of the white male who exited the
Rotella Residence inside the Aldi store (minor children have been redacted):




2
 FBI received at least three [3] tips from the public that identified 82-AFO as someone other than
BRETT ROTELLA. FBI was able to rule out these other tips by, among other things, conducting
open source research, reviewing law enforcement databases and conducting interviews.
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       At approximately 6:09 p.m., the vehicle and its occupants returned to the Rotella
Residence, and the man, woman, and children exited the vehicle and entered the residence.

       Based on FBI’s observations of the white male – including the above photograph - and a
comparison with known photographs of BRETT ROTELLA, agents believe the white male to be
ROTELLA. Further, based on a comparison between ROTELLA and images of 82-AFO from
January 6, 2021, agents believe ROTELLA to be 82-AFO. Specifically, I compared the tattoo that
appears on 82-AFO’s left arm above his elbow and believe that it is the same tattoo on
ROTELLA’s left arm above his elbow. Specifically, below on the left is a zoomed in portion of
the above photograph showing ROTELLA’s left bicep and on the right is a zoomed in portion of
ROTELLA’s left bicep from the preceding photograph of ROTELLA leaving the LWT tunnel:




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        FBI also performed open source research and identified a potential phone number
associated with ROTELLA: phone numbers (XXX) XXX-8126 (“Rotella Phone 1”). According
to information obtained from Verizon Wireless pursuant to a search warrant, Rotella Phone 1 was
identified as having utilized a cell site consistent with providing service to a geographic area that
included the interior of the United States Capitol building on January 6, 2021. Specifically,
Verizon records indicated that Rotella Phone 1 was present at or near the U.S. Capitol at least as
early as approximately 2:41 p.m. ET. until approximately 4:10 p.m. ET.

        Finally, according to a search of law enforcement databases, it appears that ROTELLA
may have changed his name in or around 2020 to Brett Alan Ostrander. Specifically, FBI located
a North Carolina driver’s license that was issued in September 2020 to a Brett Alan Ostrander. The
driver’s license appears to depict ROTELLA and lists the Rotella Residence as his address.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
BRETT ROTELLA violated 18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt
to commit any act to obstruct, impede, or interfere with any fireman or law enforcement officer
lawfully engaged in the lawful performance of his official duties incident to and during the
commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects
commerce or the movement of any article or commodity in commerce or the conduct or
performance of any federally protected function. For purposes of Section 231 of Title 18, a
federally protected function means any function, operation, or action carried out, under the laws
of the United States, by any department, agency, or instrumentality of the United States or by an
officer or employee thereof. This includes the Joint Session of Congress where the Senate and
House count Electoral College votes.

        Your affiant further submits there is probable cause to believe that ROTELLA violated 18
U.S.C. § 111(a)(1), which makes it a crime to forcibly assault, resist, oppose, impede, intimidate,
or interfere with any person designated in 18 U.S.C. § 1114 as an officer or employee of the United
States while engaged in or on account of the performance of official duties.

        Furthermore, there is probable cause to believe that ROTELLA violated 18 U.S.C. §
1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain in any restricted
building or grounds without lawful authority to do; and (2) knowingly, and with intent to impede
or disrupt the orderly conduct of Government business or official functions, engage in disorderly

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or disruptive conduct in, or within such proximity to, any restricted building or grounds when, or
so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government business or
official functions; or attempts or conspires to do so. For purposes of Section 1752 of Title 18, a
“restricted building” includes a posted, cordoned off, or otherwise restricted area of a building or
grounds where the President or other person protected by the Secret Service, including the Vice
President, is or will be temporarily visiting; or any building or grounds so restricted in conjunction
with an event designated as a special event of national significance.

       Your affiant submits there is also probable cause to believe that ROTELLA violated 40
U.S.C. § 5104(e)(2)(E) which makes it a crime to willfully and knowingly obstruct, or impede
passage through or within, the Grounds or any of the Capitol Buildings.




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 18th day of August 2023.
                                                       G. Michael Digitally signed
                                                                    by G. Michael
                                                       Harvey       Harvey
                                                      ___________________________________
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE




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